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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF INDIANA
                                   SOUTH BEND DIVISION

JANE DOE,                                     )
                                              )
        Plaintiff,                            )
                                              )
v.                                            )       CASE NO. 3:17-cv-00690-PPS-MGG
                                              )
UNIVERSITY OF NOTRE DAME DU LAC,              )
                                              )
        Defendant.                            )


         PLAINTIFF’S MOTION FOR LEAVE TO FILE FIRST AMENDED COMPLAINT

        Plaintiff, Jane Doe, by counsel, requests leave from the Court to file her First Amended

Complaint, and in support states:

        1.      Plaintiff filed her original Complaint in the St. Joseph Circuit Court on August 17,

2017, which was removed to this Court by Defendant on September 11, 2017.

        2.      On September 18, 2017, Defendant filed its Motion to Dismiss for failure to state

a claim.

        3.      The Court held a hearing on Defendant’s Motion to Dismiss on April 25, 2018,

and issued its Opinion and Order on May 11, 2011 (Doc 24), granting Defendant’s Motion to

Dismiss in part as to Count I and denying without prejudice as to Counts II and III of Plaintiff’s

Complaint.

        4.      In the Court’s May 11, 2018, Opinion and Order, the Court also granted Plaintiff

additional time in which to file her First Amended Complaint.

        5.      As such, Plaintiff requests leave to file her First Amended Complaint as to Count

II and III.
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       6.     Attached hereto as Exhibit “A,” is Plaintiff’s proposed First Amended Complaint.

       WHEREFORE, Plaintiff, Jane Doe, by counsel, respectfully requests the Court grant

Plaintiff leave to file her First Amended Complaint, and for all other just and proper relief.


                                            Respectfully submitted,

                                              s/ Peter J. Agostino
                                            Peter J. Agostino            (#10765-71)
                                            Stephanie L. Nemeth          (#25721-71)
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                                            Attorneys for Plaintiff

                                  CERTIFICATE OF SERVICE

        I, the undersigned, hereby certify that on the 11th day of June, 2018, I electronically
filed the foregoing with the Clerk of the Court using the CM/ECF system which sent notification
of such filing to:

                      Matthew Kennison at mkennison@rshc-law.com
                          Sarah E. Finch at sfinch@rshc-law.com
                     Sandra L. Musemeci at smusumeci@rshc-law.com
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                                            s/ Peter J. Agostino
                                            Peter J. Agostino                     (#10765-71)




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